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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA . CRIMINAL NO.
*
Vv. . Grand Jury Original
*
ROGER JASON STONE, JR., * 18 U.S.C. §§ 1001, 1505, 1512, 2
*k
Defendant. *
*
Case: 1:19-cr-00018 “
Assigned To : Judge Amy B Jackson *
Assign. Date : 01/24/2019 a
Description: INDICTMENT (B)
Related Case: 18cr215 (ABJ) INDICTMENT

The Grand Jury for the District of Columbia charges:

Introduction

i By in or around May 2016, the Democratic National Committee (“DNC”) and the

Democratic Congressional Campaign Committee (“DCCC”) became aware that their computer

systems had been compromised by unauthorized intrusions and hired a security company

(“Company 1”) to identify the extent of the intrusions.

2. On or about June 14, 2016, the DNC—through Company 1—publicly announced that it

had been hacked by Russian government actors.

3. From in or around July 2016 through in or around November 2016, an organization

(“Organization 1”), which had previously posted documents stolen by others from U.S. persons,

entities, and the U.S. government, released tens of thousands of documents stolen from the DNC

and the personal email account of the chairman of the U.S. presidential campaign of Hillary

Clinton (“Clinton Campaign”).
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a. On or about July 22, 2016, Organization 1 released documents stolen from the
DNC.
b. Between on or about October 7, 2016 and on or about November 7, 2016,

Organization 1 released approximately 33 tranches of documents that had been
stolen from the personal email account of the Clinton Campaign chairman, totaling
over 50,000 stolen documents.
4, ROGER JASON STONE, JR. was a political consultant who worked for decades in U.S.
politics and on U.S. political campaigns. STONE was an official on the U.S. presidential campaign
of Donald J. Trump (“Trump Campaign’) until in or around August 2015, and maintained regular
contact with and publicly supported the Trump Campaign through the 2016 election.
By During the summer of 2016, STONE spoke to senior Trump Campaign officials about
Organization 1 and information it might have had that would be damaging to the Clinton
Campaign. STONE was contacted by senior Trump Campaign officials to inquire about future
releases by Organization 1.
6. By in or around early August 2016, STONE was claiming both publicly and privately to
have communicated with Organization 1. By in or around mid-August 2016, Organization 1 made
a public statement denying direct communication with STONE. Thereafter, STONE said that his
communication with Organization 1 had occurred through a person STONE described as a “mutual
friend,” “go-between,” and “intermediary.”” STONE also continued to communicate with members
of the Trump Campaign about Organization 1 and its intended future releases.
wa After the 2016 U.S. presidential election, the U.S. House of Representatives Permanent
Select Committee on Intelligence (““HPSCTI”), the U.S. Senate Select Committee on Intelligence

(“SSCTI”), and the Federal Bureau of Investigation (“FBI”) opened or announced their respective
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investigations into Russian interference in the 2016 U.S. presidential election, which included
investigating STONE’s claims of contact with Organization 1.

8. In response, STONE took steps to obstruct these investigations. Among other steps to
obstruct the investigations, STONE:

a. Made multiple false statements to HPSCI about his interactions regarding
Organization 1, and falsely denied possessing records that contained evidence of
these interactions; and

b. Attempted to persuade a witness to provide false testimony to and withhold
pertinent information from the investigations.

Other Relevant Individuals
9. Person 1 was a political commentator who worked with an online media publication during
the 2016 U.S. presidential campaign. Person 1 spoke regularly with STONE throughout the
campaign, including about the release of stolen documents by Organization 1.
10. Person 2 was a radio host who had known STONE for more than a decade. In testimony
before HPSCI on or about September 26, 2017, STONE described Person 2 (without naming him)

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as an “intermediary,” “go-between,” and “mutual friend” to the head of Organization 1. Ina

follow-up letter to HPSCI dated October 13, 2017, STONE identified Person 2 by name and

claimed Person 2 was the “gentleman who confirmed for Mr. Stone” that the head of

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Organization | had “‘[e]mails related to Hillary Clinton which are pending publication.’”

Background
STONE’s Communications About Organization 1 During the Campaign

11. By in or around June and July 2016, STONE informed senior Trump Campaign officials

that he had information indicating Organization 1 had documents whose release would be
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damaging to the Clinton Campaign. The head of Organization 1 was located at all relevant times
at the Ecuadorian Embassy in London, United Kingdom.
12. — After the July 22, 2016 release of stolen DNC emails by Organization 1, a senior Trump
Campaign official was directed to contact STONE about any additional releases and what other
damaging information Organization 1 had regarding the Clinton Campaign. STONE thereafter
told the Trump Campaign about potential future releases of damaging material by Organization 1.
13. | STONE also corresponded with associates about contacting Organization 1 in order to
obtain additional emails damaging to the Clinton Campaign.
a. On or about July 25, 2016, STONE sent an email to Person 1 with the subject line,
“Get to [the head of Organization 1].” The body of the message read, “Get to [the
head of Organization 1] [a]t Ecuadorian Embassy in London and get the pending
[Organization 1] emails . . . they deal with Foundation, allegedly.” On or about the
same day, Person 1 forwarded STONE’s email to an associate who lived in the
United Kingdom and was a supporter of the Trump Campaign.
b. On or about July 31, 2016, STONE emailed Person 1 with the subject line, “Call
me MON.” The body of the email read in part that Person 1’s associate in the
United Kingdom “should see [the head of Organization 1].”
c. On or about August 2, 2016, Person 1 emailed STONE. Person 1 wrote that he was
currently in Europe and planned to return in or around mid-August. Person 1 stated
in part, “Word is friend in embassy plans 2 more dumps. One shortly after I’m
back. 2nd in Oct. Impact planned to be very damaging.” The phrase “friend in
embassy” referred to the head of Organization 1. Person 1 added in the same email,

“Time to let more than [the Clinton Campaign chairman] to be exposed as in bed w
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enemy if they are not ready to drop HRC. That appears to be the game hackers are
now about. Would not hurt to start suggesting HRC old, memory bad, has stroke —
neither he nor she well. I expect that much of next dump focus, setting stage for

Foundation debacle.”

14. Starting in early August 2016, after receiving the August 2, 2016 email from Person 1,

STONE made repeated statements about information he claimed to have learned from the head of

Organization 1.

a.

On or about August 8, 2016, STONE attended a public event at which he stated, “I
actually have communicated with [the head of Organization 1]. I believe the next
tranche of his documents pertain to the Clinton Foundation, but there’s no telling
what the October surprise may be.”

On or about August 12, 2016, STONE stated during an interview that he was “in
communication with [the head of Organization 1]” but was “not at liberty to discuss
what I have.”

On or about August 16, 2016, STONE stated during an interview that “it became
known on this program that I have had some back-channel communication with
[Organization 1] and [the head of Organization 1].” In a second interview on or
about the same day, STONE stated that he “communicated with [the head of
Organization 1]” and that they had a “mutual acquaintance who is a fine
gentleman.”

On or about August 18, 2016, STONE stated during a television interview that he
had communicated with the head of Organization 1 through an “intermediary,

somebody who is a mutual friend.”
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On or about August 23, 2016, Person 2 asked STONE during a radio interview,
“You’ve been in touch indirectly with [the head of Organization 1].... Can you
give us any kind of insight? Is there an October surprise happening?” STONE
responded, “Well, first of all, I don’t want to intimate in any way that I control or
have influence with [the head of Organization 1] because I do not.... We havea
mutual friend, somebody we both trust and therefore I am a recipient of pretty good

information.”

15. Beginning on or about August 19, 2016, STONE exchanged written communications,

including by text message and email, with Person 2 about Organization 1 and what the head of

Organization 1 planned to do.

a.

On or about August 19, 2016, Person 2 sent a text message to STONE that read in
part, “I’m going to have [the head of Organization 1] on my show next Thursday.”
On or about August 21, 2016, Person 2 sent another text message to STONE,
writing in part, “I have [the head of Organization 1] on Thursday so I’m completely
tied up on that day.”

On or about August 25, 2016, the head of Organization 1 was a guest on Person 2’s
radio show for the first time. On or about August 26, 2016, Person 2 sent a text
message to STONE that stated, “[the head of Organization 1] talk[ed] about you
last night.” STONE asked what the head of Organization 1 said, to which Person 2
responded, “He didn’t say anything bad we were talking about how the Press is
trying to make it look like you and he are in cahoots.”

On or about August 27, 2016, Person 2 sent text messages to STONE that said, “We

are working on a [head of Organization 1] radio show,” and that he (Person 2) was
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“in charge” of the project. In a text message sent later that day, Person 2 added,

“(The head of Organization 1] has kryptonite on Hillary.”

On or about September 18, 2016, STONE sent a text message to Person 2 that said,

“I am e-mailing u a request to pass on to [the head of Organization 1].” Person 2

responded “Ok,” and added in a later text message, “[j]ust remember do not name

me as your connection to [the head of Organization 1] you had one before that you

referred to.”

il.

On or about the same day, September 18, 2016, STONE emailed
Person 2 an article with allegations against then-candidate Clinton
related to her service as Secretary of State. STONE stated, “Please
ask [the head of Organization 1] for any State or HRC e-mail from
August 10 to August 30—particularly on August 20, 2011 that
mention [the subject of the article] or confirm this narrative.”

On or about September 19, 2016, STONE texted Person 2 again,
writing, “Pass my message . . . to [the head of Organization 1].”
Person 2 responded, “I did.” On or about September 20, 2016,
Person 2 forwarded the request to a friend who was an attorney with
the ability to contact the head of Organization 1. Person 2 blind-

copied STONE on the forwarded email.

On or about September 30, 2016, Person 2 sent STONE via text message a

photograph of Person 2 standing outside the Ecuadorian Embassy in London where

the head of Organization 1 was located.
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On or about October 1, 2016, which was a Saturday, Person 2 sent STONE text
messages that stated, “big news Wednesday . . . now pretend u don’t know me...
Hillary’s campaign will die this week.” In the days preceding these messages, the
press had reported that the head of Organization 1 planned to make a public
announcement on or about Tuesday, October 4, 2016, which was reported to be the
ten-year anniversary of the founding of Organization 1.

On or about October 2, 2016, STONE emailed Person 2, with the subject line
“WTF?,” a link to an article reporting that Organization 1 was canceling its “highly
anticipated Tuesday announcement due to security concerns.” Person 2 responded
to STONE, “head fake.”

On or about the same day, October 2, 2016, STONE texted Person 2 and asked,
“Did [the head of Organization 1] back off.” On or about October 3, 2016, Person
2 initially responded, “I can’t tal[k] about it.” After further exchanges with
STONE, Person 2 said, “I think it[’]s on for tomorrow.” Person 2 added later that
day, “Off the Record Hillary and her people are doing a full-court press they [sic]
keep [the head of Organization 1] from making the next dump . . . That’s all I can

tell you on this line . . . Please leave my name out of it.”

16. In or around October 2016, STONE made statements about Organization 1’s future

releases, including statements similar to those that Person 2 made to him. For example:

a.

On or about October 3, 2016, STONE wrote to a supporter involved with the Trump
Campaign, “Spoke to my friend in London last night. The payload is still coming.”
Also on or about October 3, 2016, STONE received an email from a reporter who

had connections to a high-ranking Trump Campaign official that asked, “[the head
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of Organization 1] — what’s he got? Hope it’s good.” STONE responded in part,
“It is. I’d tell [the high-ranking Trump Campaign official] but he doesn’t call me
back.”

C. On or about October 4, 2016, the head of Organization 1 held a press conference
but did not release any new materials pertaining to the Clinton Campaign. Shortly
afterwards, STONE received an email from the high-ranking Trump Campaign
official asking about the status of future releases by Organization 1. STONE
answered that the head of Organization 1 had a “[s]erious security concern” but that
Organization 1 would release “a load every week going forward.”

d. Later that day, on or about October 4, 2016, the supporter involved with the Trump
Campaign asked STONE via text message if he had “hear[d] anymore from
London.” STONE replied, “Yes - want to talk on a secure line - got Whatsapp?”
STONE subsequently told the supporter that more material would be released and
that it would be damaging to the Clinton Campaign.

17. | Onor about October 7, 2016, Organization 1 released the first set of emails stolen from the
Clinton Campaign chairman. Shortly after Organization 1’s release, an associate of the high-
ranking Trump Campaign official sent a text message to STONE that read “well done.” In
subsequent conversations with senior Trump Campaign officials, STONE claimed credit for
having correctly predicted the October 7, 2016 release.
The Investigations

18. In or around 2017, government officials publicly disclosed investigations into Russian
interference in the 2016 U.S. presidential election and possible links to individuals associated with

the campaigns.
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a. On or about January 13, 2017, the chairman and vice chairman of SSCI announced
the committee would conduct an inquiry that would investigate, among other
things, any intelligence regarding links between Russia and individuals associated
with political campaigns, as well as Russian cyber activity and other “active
measures” directed against the United States in connection with the 2016 election.

b. On or about January 25, 2017, the chairman and ranking member of HPSCI
announced that HPSCI had been conducting an inquiry similar to SSCI’s.

Cc. On or about March 20, 2017, the then-director of the FBI testified at a HPSCI
hearing and publicly disclosed that the FBI was investigating Russian interference
in the 2016 election and possible links and coordination between the Trump
Campaign and the Russian government.

d. By in or around August 2017, news reports stated that a federal grand jury had
opened an investigation into matters relating to Russian government efforts to
interfere in the 2016 election, including possible links and coordination between
the Trump Campaign and the Russian government.

STONE?’s False Testimony to HPSCI

19. In or around May 2017, HPSCI sent a letter requesting that STONE voluntarily appear
before the committee and produce:

Any documents, records, electronically stored information

including e-mail, communication, recordings, data and tangible

things (including, but not limited to, graphs, charts, photographs,

images and other documents) regardless of form, other than those

widely available (e.g., newspaper articles) that reasonably could

lead to the discovery of any facts within the investigation’s publicly-

announced parameters.

On or about May 22, 2017, STONE caused a letter to be submitted to HPSCI stating that “Mr.

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Stone has no documents, records, or electronically stored information, regardless of form, other
than those widely available that reasonably could lead to the discovery of any facts within the
investigation’s publicly-announced parameters.”

20. On or about September 26, 2017, STONE testified before HPSCI in Washington, D.C. as
part of the committee’s ongoing investigation. In his opening statement, STONE stated, “These
hearings are largely based on a yet unproven allegation that the Russian state is responsible for the
hacking of the DNC and [the Clinton Campaign chairman] and the transfer of that information to
[Organization 1].” STONE further stated that “[m]embers of this Committee” had made certain
“assertions against me which must be rebutted here today,” which included “[t]he charge that I
knew in advance about, and predicted, the hacking of Clinton campaign chairman[’s] email, [and]
that I had advanced knowledge of the source or actual content of the [Organization 1] disclosures
regarding Hillary Clinton.”

21. In the course of his HPSCI testimony, STONE made deliberately false and misleading
statements to the committee concerning, among other things, his possession of documents
pertinent to HPSCI’s investigation; the source for his early August 2016 statements about
Organization 1; requests he made for information from the head of Organization 1; his
communications with his identified intermediary; and his communications with the Trump
Campaign about Organization 1.

STONE’s False and Misleading Testimony About His Possession of Documents Pertinent to
HPSCI’s Investigation

22. During his HPSCI testimony, STONE was asked, “So you have no emails to anyone
concerning the allegations of hacked documents... or any discussions you have had with third
parties about [the head of Organization 1]? You have no emails, no texts, no documents

whatsoever, any kind of that nature?” STONE falsely and misleadingly answered, “That is correct.

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Not to my knowledge.”
23. In truth and in fact, STONE had sent and received numerous emails and text messages
during the 2016 campaign in which he discussed Organization 1, its head, and its possession of
hacked emails. At the time of his false testimony, STONE was still in possession of many of these
emails and text messages, including:
a. The email from STONE to Person 1 on or about July 25, 2016 that read in part,
“Get to [the head of Organization 1] [a]t Ecuadorian Embassy in London and get
the pending [Organization 1] emails . . . they deal with Foundation, allegedly.”;
b. The email from STONE to Person 1 on or about July 31, 2016 that said an associate
of Person 1 “should see [the head of Organization 1].”;
C. The email from Person 1 to STONE on or about August 2, 2016 that stated in part,
“Word is friend in embassy plans 2 more dumps. One shortly after I’m back. 2nd
in Oct. Impact planned to be very damaging.”;
d. Dozens of text messages and emails, beginning on or about August 19, 2016 and
continuing through the election, between STONE and Person 2 in which they
discussed Organization 1 and the head of Organization 1;
e. The email from STONE on or about October 3, 2016 to the supporter involved with
the Trump Campaign, which read in part, “Spoke to my friend in London last night.
The payload is still coming.”; and
i, The emails on or about October 4, 2016 between STONE and the high-ranking
member of the Trump Campaign, including STONE’s statement that Organization

1 would release “a load every week going forward.”

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24. By falsely claiming that he had no emails or text messages in his possession that referred
to the head of Organization 1, STONE avoided providing a basis for HPSCI to subpoena records
in his possession that could have shown that other aspects of his testimony were false and
misleading.

STONE’s False and Misleading Testimony About His Early August 2016 Statements
25. During his HPSCI testimony on or about September 26, 2017, STONE was asked to
explain his statements in early August 2016 about being in contact with the head of Organization 1.
STONE was specifically asked about his statement on or about August 8, 2016 that “I’ve actually
communicated with [the head of Organization 1],” as well as his statement on or about August 12,
2016 that he was “in communication with [the head of Organization 1]” but was “not at liberty to
discuss what I have.”
26. STONE responded that his public references to having a means of contacting Organization
1 referred exclusively to his contact with a journalist, who STONE described as a “go-between, as
an intermediary, as a mutual friend” of the head of Organization 1. STONE stated that he asked
this individual, his intermediary, “to confirm what [the head of Organization 1] ha[d] tweeted,
himself, on July 21st, that he ha[d] the Clinton emails and that he [would] publish them.” STONE
further stated that the intermediary “was someone I knew had interviewed [the head of
Organization 1]. And I merely wanted confirmation of what he had tweeted on the 21st.” STONE
declined to tell HPSCI the name of this “intermediary” but provided a description in his testimony
that was consistent with Person 2.
27. On or about October 13, 2017, STONE caused a letter to be submitted to HPSCI that
identified Person 2 by name as the “gentleman who confirmed for Mr. Stone” that the head of

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Organization 1 had ““‘[e}mails related to Hillary Clinton which are pending publication.’”

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28. STONE’s explanation of his August 2016 statements about communicating with the head
of Organization 1 was false and misleading. In truth and in fact, the first time Person 2 interviewed
the head of Organization 1 was on or about August 25, 2016, after STONE made his August 8 and
August 12, 2016 public statements. Similarly, at the time STONE made his August 2016
statements, STONE had directed Person 1—not Person 2—to contact the head of Organization 1.
And Person 1—not Person 2—had told STONE in advance of STONE’s August 8 and August 12,
2016 public statements that “[wl]ord is friend in embassy plans 2 more dumps,” including one in
October. At no time did STONE identify Person 1 to HPSCI as another individual STONE
contacted to serve as a “go-between,” “intermediary,” or other source of information from
Organization 1. STONE also never disclosed his exchanges with Person 1 when answering

HPSCI’s questioning about STONE’s August 8 and August 12, 2016 statements.

STONE’s False and Misleading Testimony About Requests He Made for Information from the
Head of Organization 1

29. During his HPSCI testimony, STONE was asked, “[W]hat was the extent of the
communication with [the intermediary]?” STONE replied, “I asked him to confirm . . . that the
tweet of [the head of Organization 1] of the 21st was accurate, that they did in fact have . . . Hillary
Clinton emails and that they would release them.” STONE was then asked, “Did you ask [the
intermediary] to communicate anything else to [the head of Organization 1]?” STONE falsely and
misleadingly responded, “I did not.” STONE was then asked, “Did you ask [the intermediary] to
do anything on your own behalf?” STONE falsely and misleadingly responded, “TI did not.”

30. ‘In truth and in fact, STONE directed both Person 1 and Person 2 to pass on requests to the
head of Organization 1 for documents that STONE believed would be damaging to the Clinton
Campaign. For example:

a. As described above, on or about July 25, 2016, STONE sent Person 1 an email that

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read, “Get to [the head of Organization 1] [a]t Ecuadorian Embassy in London and
get the pending [Organization 1] emails . . . they deal with Foundation, allegedly.”

b. On or about September 18, 2016, STONE sent a text message to Person 2 that said,
“T am e-mailing u a request to pass on to [the head of Organization 1],” and then
emailed Person 2 an article with allegations against then-candidate Clinton related
to her service as Secretary of State. STONE added, “Please ask [the head of
Organization 1] for any State or HRC e-mail from August 10 to August 30—
particularly on August 20, 2011 that mention [the subject of the article] or confirm
this narrative.”

c. On or about September 19, 2016, STONE texted Person 2 again, writing “Pass my
message . . . to [the head of Organization 1].” Person 2 responded, “I did,” and the
next day Person 2, on an email blind-copied to STONE, forwarded the request to
an attorney who had the ability to contact the head of Organization 1.

STONE’s False and Misleading Testimony About Communications with His Identified
Intermediary

31. During his HPSCI testimony, STONE was asked repeatedly about his communications
with the person he identified as his intermediary. STONE falsely and misleadingly stated that he
had never communicated with his intermediary in writing in any way. During one exchange,

STONE falsely and misleadingly claimed only to have spoken with the intermediary

telephonically:
Q: [H]ow did you communicate with the intermediary?
A: Over the phone.
Q: And did you have any other means of communicating with
the intermediary?
A: No.
Q: No text messages, no — none of the list, right?

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A: No.
Later during his testimony, STONE again falsely denied ever communicating with his

intermediary in writing:

Q: So you never communicated with your intermediary in
writing in any way?

A: No.

Q: Never emailed him or texted him?

A: He’s not an email guy.

Q: So all your conversations with him were in person or over
the phone.

A: Correct.

32. In truth and in fact, as described above, STONE and Person 2 (who STONE identified to
HPSCI as his intermediary) engaged in frequent written communication by email and text
message. STONE also engaged in frequent written communication by email and text message
with Person 1, who also provided STONE with information regarding Organization 1.
33. | Written communications between STONE and Person 1 and between STONE and Person 2
continued through STONE’s HPSCI testimony. Indeed, on or about September 26, 2017—the day
that STONE testified before HPSCI and denied having ever sent or received emails or text
messages from Person 2—-STONE and Person 2 exchanged over thirty text messages.
34. Certain electronic messages between STONE and Person 1 and between STONE and
Person 2 would have been material to HPSCI. For example:
a. In or around July 2016, STONE emailed Person 1 to “get to” the head of
Organization 1 and obtain the pending emails.
b. In or around September 2016, STONE sent messages directing Person 2 to pass a
request to the head of Organization 1.

C. On or about January 6, 2017, Person 2 sent STONE an email that had the subject

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line “Back channel bs.” In the email, Person 2 wrote, “Well I have put together
timelines[] and you [] said you have a back-channel way back a month before I had
[the head of Organization 1] on my show... I have never had a conversation with
[the head of Organization 1] other than my radio show... I have pieced it all
together . . .so you may as well tell the truth that you had no back-channel or there’s
the guy you were talking about early August.”

STONE?’s False and Misleading Testimony About Communications with the Trump Campaign
35. During his HPSCI testimony, STONE was asked, “did you discuss your conversations with
the intermediary with anyone involved in the Trump campaign?” STONE falsely and misleadingly
answered, “I did not.” In truth and in fact, and as described above, STONE spoke to multiple
individuals involved in the Trump Campaign about what he claimed to have learned from his
intermediary to Organization 1, including the following:

a. On multiple occasions, STONE told senior Trump Campaign officials about
materials possessed by Organization 1 and the timing of future releases.

b. On or about October 3, 2016, STONE wrote to a supporter involved with the Trump
Campaign, “Spoke to my friend in London last night. The payload is still coming.”

@ On or about October 4, 2016, STONE told a high-ranking Trump Campaign official
that the head of Organization 1 had a “[s]erious security concern” but would release
“a load every week going forward.”

Attempts to Prevent Person 2 from Contradicting STONE’s False Statements to HPSCI
36. On or about October 19, 2017, STONE sent Person 2 an excerpt of his letter to HPSCI that
identified Person 2 as his “intermediary” to Organization 1. STONE urged Person 2, if asked by

HPSCL, to falsely confirm what STONE had previously testified to, including that it was Person 2

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who provided STONE with the basis for STONE’s early August 2016 statements about contact
with Organization 1. Person 2 repeatedly told STONE that his testimony was false and told him
to correct his testimony to HPSCI. STONE did not do so. STONE then engaged in a prolonged
effort to prevent Person 2 from contradicting STONE’s false statements to HPSCI.

37. Inor around November 2017, Person 2 received a request from HPSCI to testify voluntarily
before the committee. After being contacted by HPSCI, Person 2 spoke and texted repeatedly with
STONE. In these discussions, STONE sought to have Person 2 testify falsely either that Person 2
was the identified intermediary or that Person 2 could not remember what he had told STONE.
Alternatively, STONE sought to have Person 2 invoke his Fifth Amendment right against self-
incrimination. For example:

a. On or about November 19, 2017, in a text message to STONE, Person 2 said that
his lawyer wanted to see him (Person 2). STONE responded, “‘Stonewall it. Plead
the fifth. Anything to save the plan’... Richard Nixon.” On or about November
20, 2017, Person 2 informed HPSCI that he declined HPSCI’s request for a
voluntary interview.

b. On or about November 21, 2017, Person 2 texted STONE, “I was told that the house
committee lawyer told my lawyer that I will be getting a subpoena.” STONE
responded, “That was the point at which your lawyers should have told them you
would assert your 5th Amendment rights if compelled to appear.”

c. On or about November 28, 2017, Person 2 received a subpoena compelling his
testimony before HPSCI. Person 2 informed STONE of the subpoena.

d. On or about November 30, 2017, STONE asked Person 1 to write publicly about

Person 2. Person 1 responded, “Are you sure you want to make something out of

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this now? Why not wait to see what [Person 2] does. You may be defending
yourself too much—raising new questions that will fuel new inquiries. This may
be a time to say less, not more.” STONE responded by telling Person 1 that
Person 2 “will take the 5th—but let’s hold a day.”

e. On multiple occasions, including on or about December 1, 2017, STONE told
Person 2 that Person 2 should do a “Frank Pentangeli” before HPSCI in order to
avoid contradicting STONE’s testimony. Frank Pentangeli is a character in the film
The Godfather: Part IT, which both STONE and Person 2 had discussed, who
testifies before a congressional committee and in that testimony claims not to know
critical information that he does in fact know.

f. On or about December 1, 2017, STONE texted Person 2, “And if you turned over
anything to the FBI you’re a fool.” Later that day, Person 2 texted STONE, “You
need to amend your testimony before I testify on the 15th.” STONE responded, “If
you testify you’re a fool. Because of tromp I could never get away with a certain
[sic] my Fifth Amendment rights but you can. I guarantee you you are the one who
gets indicted for perjury if you’re stupid enough to testify.”

38. On or about December 12, 2017, Person 2 informed HPSCI that he intended to assert his
Fifth Amendment privilege against self-incrimination if required to appear by subpoena. Person 2
invoked his Fifth Amendment privilege in part to avoid providing evidence that would show
STONE’s previous testimony to Congress was false.

39. Following Person 2’s invocation of his Fifth Amendment privilege not to testify before
HPSCI, STONE and Person 2 continued to have discussions about the various investigations into

Russian interference in the 2016 election and what information Person 2 would provide to

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investigators.

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During these conversations, STONE repeatedly made statements intended to

prevent Person 2 from cooperating with the investigations. For example:

a.

On or about December 24, 2017, Person 2 texted STONE, “I met [the head of

. Organization 1] for f[i]rst time this yea[r] sept 7... docs prove that... . You should

be honest w fbi . . . there was no back channel . . . be honest.” STONE replied
approximately two minutes later, “I’m not talking to the FBI and if your smart you
won’t either.”

On or about April 9, 2018, STONE wrote in an email to Person 2, “You are a rat.
A stoolie. You backstab your friends-run your mouth my lawyers are dying Rip
you to shreds.” STONE also said he would “take that dog away from you,”
referring to Person 2’s dog. On or about the same day, STONE wrote to Person 2,
“Tam so ready. Let’s get it on. Prepare to die [expletive].”

On or about May 21, 2018, Person 2 wrote in an email to STONE, “You should
have just been honest with the house Intel committee . . . you’ve opened yourself
up to perjury charges like an idiot.” STONE responded, “You are so full of
[expletive]. You got nothing. Keep running your mouth and [ll file a bar
complaint against your friend [the attorney who had the ability to contact the head

of Organization 1].”

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COUNT ONE
(Obstruction of Proceeding)

40. Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as
if fully set forth herein.

41. From in or around May 2017 through at least December 2017, within the District of
Columbia and elsewhere, the defendant ROGER JASON STONE, JR., corruptly influenced,
obstructed, impeded, and endeavored to influence, obstruct, and impede the due and proper
exercise of the power of inquiry under which any inquiry and investigation is being had by either
House, and any committee of either House and any joint committee of the Congress, to wit:
STONE testified falsely and misleadingly at a HPSCI hearing in or around September 2017;
STONE failed to turn over and lied about the existence of responsive records to HPSCI’s requests
about documents; STONE submitted and caused to be submitted a letter to HPSCI falsely and
misleadingly describing communications with Person 2; and STONE attempted to have Person 2
testify falsely before HPSCI or prevent him from testifying.

All in violation of Title 18, United States Code, Sections 1505 and 2.

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COUNTS TWO THROUGH SIX

(False Statements)
42. Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as
if fully set forth herein.
43. On or about September 26, 2017, within the District of Columbia and elsewhere, in a matter

within the jurisdiction of the legislative branch of the Government of the United States, the

defendant ROGER JASON STONE, JR., knowingly and willfully made and caused to be made

materially false, fictitious, and fraudulent statements and representations, to wit:

Count

 

False Statement
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STONE testified falsely that he did not have emails with third parties about

the head of Organization 1, and that he did not have any documents, emails,
or text messages that refer to the head of Organization 1.

 

with the head of Organization 1 were references to communications with a
single “go-between,” “mutual friend,” and “intermediary,” who STONE
identified as Person 2.

 

STONE testified falsely that he did not ask the person he referred to as his
“go-between,” “mutual friend,” and “intermediary,” to communicate anything
to the head of Organization 1 and did not ask the intermediary to do anything
on STONE’s behalf.

 

 

STONE testified falsely that he and the person he referred to as his “go-
between,” “mutual friend,” and “intermediary” did not communicate via text
message or email about Organization 1.

 

 

 

 

STONE testified falsely that he had never discussed his conversations with the
person he referred to as his “go-between,” “mutual friend,” and
“intermediary” with anyone involved in the Trump Campaign.

 

 

All in violation of Title 18, United States Code, Sections 1001(a)(2) and 2.

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COUNT SEVEN
(Witness Tampering)

44. __ Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as
if fully set forth herein.

45. Between in or around September 2017 and present, within the District of Columbia and
elsewhere, the defendant ROGER JASON STONE, JR., knowingly and intentionally corruptly
persuaded and attempted to corruptly persuade another person, to wit: Person 2, with intent to
influence, delay, and prevent the testimony of any person in an official proceeding.

All in violation of Title 18, United States Code, Section 1512(b)(1).

CPS rrbler we

Robert S. Mueller, ITI
Special Counsel
U.S. Department of Justice

A TRUE BILL:

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Date: January 24, 2019

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